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                       IN THE UNITED STATES BANKRUPTCY COURT
                                  Northern District of Iowa

In the Matter of:                                           :
                                                            :       Case No. 20-00107
Kirk C. Bear                                                :
Jennifer R. Bear                                            :       Chapter 13
                                                            :
                         Debtors.                           :

                       POST-CONFIRMATION SECOND MODIFIED PLAN

        COME NOW the Debtors herein, by and through counsel, and modifies the Plan filed on the May

18, 2020, and confirmed by order of this Court on June 24, 2020, as follows:

        1.       Debtors experienced a material financial hardship due directly and indirectly to the

coronavirus disease 2019 (COVID-19) pandemic. Debtors seek to defer the plan payments of January,

February, and March 2021, and seek to resume plan payments April 2021, and to continue plan payments

through the 63rd month of the plan, thereby extending the plan for an additional three months beyond the

original 60-month plan, rendering this a sixty-three (63) month plan pursuant to the provisions of 11

U.S.C. § 1329(d)(1).

        2.       Paragraph 2 of the Plan shall be amended to state: “Payments to the Trustee: The future

earnings or other future income of the debtor is submitted to the supervision and control of the Trustee.

The debtor (or the debtor’s employer), shall pay to the Trustee the sum of $840.72 per month for forty-

three (43) months (with a three-month interruption in plan payments pursuant to paragraph 1 of the

Debtors’ Second Modified Plan) and increase monthly plan payments to $1,111.67 per month for the final

twenty (20) months of the plan (which is extended to a 63 month plan pursuant to paragraph 1 of the

Debtors’ Second Modified Plan).”

        3.       A post-petition mortgage arrearage with Home Point Financial Corporation has accrued

since filing of the original plan. The debtor proposes to cure this arrearage from payments made to the

trustee, and paid to Home Point by the Chapter 13 Trustee on a periodic basis during the plan as an

arrearage claim, consistent with payments that are being made by the Chapter 13 Trustee on pre-petition

arrearages on this mortgage. The mortgage company shall file an amended claim asserting the post

petition arrearage due, giving all parties an opportunity to object. If no claim is filed by the creditor,
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debtor may file a claim on behalf creditor for the amount debtor believes is due and owing based on

debtor’s financial records and payment history.

        The provisions and the terms of the original plan, to the extent that they are not inconsistent with

the provisions herein, shall remain in full force and effect.




                                                            Respectfully submitted,

                                                            /s/ Kevin D. Ahrenholz
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